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 8
 9                        UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
12   RAUL URIARTE-LIMON,                      Case No.:
13
                 Plaintiff,                   COMPLAINT FOR:
14
        vs.                       DENIAL OF CIVIL RIGHTS AND
15                                ACCESS TO PUBLIC FACILITIES
                                  TO PHYSICALLY DISABLED
16                                PERSONS IN VIOLATION OF THE
     LEININGER AND SHORT; WILLIAM AMERICANS WITH DISABILITIES
17   SHORT; and DOES 1-10,        ACT OF 1990, (42 U.S.C. §12101, et
                                  seq.) AND THE UNRUH CIVIL
18                                RIGHTS ACT, (CALIFORNIA CIVIL
                Defendants.       CODE §51, et seq.)
19
                                              DEMAND FOR JURY TRIAL
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                                       COMPLAINT - 1
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 1        “[T]he continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an
 2
          equal basis and to pursue those opportunities for which our free society
 3        is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
          “It is the policy of this state to encourage and enable individuals with a
 5        disability to participate fully in the social and economic life of the state ...”
 6        California Government Code §19230(a).

 7
           Plaintiff RAUL URIARTE-LIMON (hereinafter referred to as “Plaintiff”)
 8
     complains of LEININGER AND SHORT a California corporation dba
 9
     LEININGER AND SHORT TIRE SERVICE; WILLIAM SHORT, an individual;
10
     and DOES 1-10, (each, individually a “Defendant” and collectively “Defendants”)
11
     and alleges as follows:
12
                                        I.      PARTIES
13
           1.     Plaintiff RAUL URIARTE-LIMON is a California resident and a
14
     qualified physically disabled person. He cannot walk due to paraplegia and uses a
15
     wheelchair for mobility. Plaintiff prides himself on his independence and on
16
     empowering other disabled persons to be independent.
17
           2.     Defendants LEININGER AND SHORT, WILLIAM SHORT, and
18
     DOES 1-10 are and were the owners, operators, lessors and/or lessees of the
19
     subject business, property, and facility at all times relevant in this Complaint.
20
           3.     Plaintiff does not know the true names of Defendants, their business
21
     capacities, their ownership connection to the property and business, or their
22
     relative responsibilities in causing the access violations herein complained of, and
23
     alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
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     informed and believes that each of the Defendants herein, including DOES 1
25
     through 10, inclusive, is responsible in some capacity for the events herein alleged,
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     or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
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28

                                             COMPLAINT - 2
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 1   amend when the true names, capacities, connections, and responsibilities of the
 2   Defendants and Does 1 through 10, inclusive, are ascertained.
 3          4.     Defendants own and owned the property located at 909 W Holt Blvd.,
 4   Ontario, CA, 91762 (“Subject Property”) at all relevant times.
 5          5.     Defendants operate and operated a tire center doing business as
 6   LEININGER AND SHORT TIRE SERVICE (“tire center”), located at the Subject
 7   Property, at all relevant times.
 8          6.     Plaintiff alleges that the Defendants have been and are the owners,
 9   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
10   subsidiaries, partner companies and/or joint ventures of each of the other
11   Defendants, and performed all acts and omissions stated herein within the course
12   and scope of such relationships causing the damages complained of herein.
13                           II.    JURISDICTION AND VENUE
14          7.     This Court has subject matter jurisdiction over this action pursuant to
15   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, U.S.C. §12101, et seq.
17          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising out of the same nucleus of operative facts and arising out of the
19   same transactions, is also brought under California’s Unruh Civil Rights Act,
20   which expressly incorporates the Americans with Disabilities Act.
21          9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
22   and is founded on the fact that the real property which is the subject of this action
23   is located in this district and that Plaintiff’s causes of action arose in this district.
24                                         III.   FACTS
25          10.    Plaintiff uses a wheelchair for mobility.
26          11.    Defendants’ business is open to the public, a place of public
27   accommodation, and a business establishment.
28

                                            COMPLAINT - 3
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 1         12.    Plaintiff went to the tire center on April 10, 2024, and purchased a tire
 2   rotation service. The receipt he received for his purchase is shown in the photo
 3   below.
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           13.    Unfortunately, during Plaintiff’s visit, Defendants did not offer
22
     persons with disabilities equivalent facilities, privileges, advantages, and
23
     accommodations offered to other persons.
24
           14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
25
     the ability to use and enjoy the goods, services, privileges, advantages, and
26
     accommodations offered by Defendants at the Subject Property.
27
28

                                          COMPLAINT - 4
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 1         15.    These barriers violate one or more standards of the Americans with
 2   Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
 3   CBC”).
 4         16.    Parking for patrons visiting the Subject Property is among the
 5   facilities, privileges, advantages, and accommodations offered by Defendants.
 6         17.    According to the U.S. Department of Justice, “a public
 7   accommodation’s first priority should be to enable individuals with disabilities to
 8   physically enter its facility. This priority on ‘getting through the door’ recognizes
 9   that providing physical access to a facility from public sidewalks, public
10   transportation, or parking is generally preferable to any alternative arrangements in
11   terms of both business efficiency and the dignity of individuals with disabilities.”
12   ADA Title III Technical Assistance Manual §III-4.4500.
13         18.    When parking is provided, there must be at least one accessible
14   parking space designated and marked for disabled persons. Where more than one
15   parking facility is provided on a site, the number of accessible spaces provided on
16   the site shall be calculated according to the number of spaces required for each
17   parking facility. 2010 ADA §502 et seq.; 2010 ADA §208.2; 2022 CBC 11B-502
18   et seq; 2022 CBC 11B-208.2.
19         19.    However, there is no accessible parking for disabled persons at the
20   Subject Property because there are insufficient accessible parking spaces
21   designated for disabled persons and/or the existing ostensibly designated space or
22   spaces are significantly noncompliant with the applicable ADA and CBC
23   standards.
24         20.    It appears there was once a designated accessible parking space and
25   adjacent access aisle, but Defendants have failed to maintain the paint and it is now
26   so badly deteriorated it cannot be clearly identified. There is no way to determine
27   the actual dimensions of the space and whether the adjacent loading and unloading
28   access aisle is the correct width for an accessible space. The International Access

                                          COMPLAINT - 5
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 1   Symbol was so deteriorated it cannot be clearly identified. The “No Parking” was
 2   so deteriorated it cannot be clearly identified. ADA 2010 §502.3.3; ADA 2010
 3   §502.6; 2022 CBC 11B-502.3.3; 2022 CBC 11B 502.6; 28 C.F.R. §36.211(a);
 4   2022 CBC 11B-108.
 5            21.   The ostensibly designated accessible parking space’s adjacent access
 6   aisle did not say “No Parking,” or the paint is so deteriorated it cannot be clearly
 7   identified. ADA 2010 §502.3.3; 2022 CBC 11B-502.3.3; 28 C.F.R. §36.211(a);
 8   2022 CBC 11B-108.
 9            22.   The ground surface of the ostensibly designated accessible parking
10   spaces and their access aisles was severely cracked, broken and uneven. ADA
11   2010 §302; 2022 CBC 11B-302; 28 C.F.R. §36.211(a); 2022 CBC 11B-108.
12            23.   There is no ADA compliant parking signage. ADA 2010 §502.6; 2022
13   CBC 11B-502.6, 2022 CBC 11B-703.7.2.1.
14            24.   There is no sign in a conspicuous place at the entrance to the facility,
15   or immediately adjacent to on-site accessible parking and visible from each
16   parking space, stating that vehicles parked in designated accessible spaces not
17   displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
18            25.   The entrance to the tire center office contains a step resulting in a
19   change in level more than 1/2 inch high. 2010 ADA §206; 2010 ADA §303.4;
20   2010 ADA §403.4; 2022 CBC 11B-206; 2022 CBC 11B-303.4; 2022 CBC 11B-
21   403.4.
22            26.   The photo below shows one or more of these violations.
23   //
24   //
25   //
26   //
27   //
28   //

                                            COMPLAINT - 6
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17          27.      The barriers existed during Plaintiff’s visit to the Subject Property.
18   Plaintiff personally encountered these barriers.
19          28.      These inaccessible conditions and barriers denied Plaintiff full and
20   equal access and caused him difficulty, discomfort, and embarrassment. Because of
21   the lack of compliant parking and a compliant access aisle, Plaintiff was placed at
22   risk of being blocked in by other vehicles and unable to get out of his vehicle or get
23   back into it. He was also at greater risk of being hit by a car while transferring to
24   and from his wheelchair. Because of the severely cracked and broken ground
25   surface, Plaintiff had more difficulty traversing the ground and was at risk of
26   getting stuck in his wheelchair or tipping over on his way to and from the entrance
27   of the store.
28

                                            COMPLAINT - 7
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 1         29.    These barriers denied Plaintiff full and equal access due to his
 2   disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
 3   and embarrassment which patrons who do not use a wheelchair for mobility do not
 4   suffer when they access the Subject Property.
 5         30.    Plaintiff intends to return to the Subject Property in the near future.
 6   Plaintiff is currently deterred from returning because of the knowledge of the
 7   barriers to equal access that relate to Plaintiff’s disabilities which continue to exist
 8   at Defendants’ public accommodation facilities. Plaintiff is proud to be an ADA
 9   tester who engages in the “necessary and desirable” task of bringing serial lawsuits
10   in order to ensure that the accessibility standards of Title III of the ADA are
11   enforced. (The Ninth Circuit has repeatedly commented that “it may be necessary
12   and desirable for committed individuals to bring serial litigation advancing the
13   time when public accommodations will be compliant with the ADA. . . .[A] system
14   that relies on private attorneys general should respect and value the work done by
15   those who take up the mantle . . . rather than expecting every disabled person to
16   use whatever spare time and energy they have to litigate each trip to the movies.”
17   Langer v. Kiser, 57 F.4th 1085, 1095, 1099 (9th Cir. 2023) (citations omitted)).
18         31.    Though Plaintiff has filed numerous cases, the total number of
19   businesses he has sued represents a very small fraction of the approximately 3
20   million public accommodations in the State of California alone which are required
21   to be accessible to disabled people pursuant to ADA and CBC standards.
22         32.    As a tester, Plaintiff visits properties in part to identify potential ADA
23   and CBC violations, and revisits the properties to confirm ADA and CBC
24   compliance after any lawsuit he brings regarding the violations is resolved. He
25   therefore has a credible intent to return to the Subject Property in the near future in
26   order to accomplish this task, and in the meantime is also currently deterred from
27   returning because of the knowledge of the barriers to equal access that relate to his
28   disabilities which continue to exist at the Subject Property. This accords with well-

                                           COMPLAINT - 8
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 1   settled Ninth Circuit precedent which provides that a Title III ADA tester such as
 2   Plaintiff has Article III standing because “visiting a property to identify potential
 3   ADA violations is consistent with having a credible intent to return.” See, e.g.,
 4   Langer v. Kiser, at 1096 (citations omitted); See also, Civil Rights Education and
 5   Enforcement Center v. Hospitality Properties Trust (“CREEC”), 867 F.3d 1093
 6   (9th Cir. 2017).
 7         33.     Plaintiff also has Article III standing because, in addition to visiting
 8   the Subject Property to test for ADA and CBC violations, he also visited to have
 9   his tires rotated. The Subject Property is conveniently located and in the general
10   area where he lives, shops, goes to medical appointments, visits family and friends,
11   recreates, and does other normal activities in his daily life. Therefore, in addition to
12   his concrete plan to return to the Subject Property to test for ADA and CBC
13   compliance, Plaintiff also intends to return to the Subject Property in the near
14   future to purchase tires or have his car serviced, after the accessibility barriers
15   alleged herein have been removed.
16         34.    Plaintiff alleges that Defendants knew that the barriers prevented
17   equal access. Plaintiff further alleges that Defendants had actual or constructive
18   knowledge that the architectural barriers prevented equal access, and that the
19   noncompliance with the Americans with Disabilities Act and Title 24 of the
20   California Building Code regarding accessible features was intentional.
21         35.    Defendants have obstructed or failed to maintain, in working and
22   useable conditions, those features necessary to provide ready access to persons
23   with disabilities. “A public accommodation shall maintain in operable working
24   condition those features of facilities and equipment that are required to be readily
25   accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
26   CBC 11B-108.
27         36.    The State of California Department of General Servicers, Division of
28   the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:

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 1              Features for accessibility must be permanently functional, unobstructed
                and may not be removed. It is not sufficient to provide features such as
 2
                accessible routes, parking, elevators, ramps or signage if those features
 3              are not maintained in a manner that enables individuals with disabilities
 4              to use them.

 5    DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
 6              37.   Defendants have the financial resources to remove these barriers
 7    without much expense or difficulty in order to make their property more accessible
 8    to their mobility impaired customers. The United States Department of Justice has
 9    identified that these types of barriers are readily achievable to remove.
10              38.   To date, Defendants refuse to remove these barriers, in violation of
11    the law, willfully depriving disabled persons including Plaintiff of important civil
12    rights.
13              39.   On information and belief, Plaintiff alleges that the Defendants’
14    failure to remove these barriers was intentional because the barriers are logical and
15    obvious. During all relevant times Defendants had authority, control, and dominion
16    over these conditions and therefore the absence of accessible facilities was not a
17    mishap, but rather an intentional act.
18              40.   The barriers to access are listed above without prejudice to Plaintiff
19    citing additional barriers to equal access by an amended complaint after inspection
20    by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
21    654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
22    2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
23    All of these barriers to access render the premises inaccessible to physically
24    disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
25    may encounter when he returns to the premises. All public accommodations must
26    be brought into compliance with all applicable federal and state accessibility
27    requirements.
28

                                             COMPLAINT - 10
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 1                               FIRST CAUSE OF ACTION
 2                 Violation of the Americans With Disabilities Act of 1990
 3                                 (42 U.S.C. §12101, et seq.)
 4                                  (Against All Defendants)
 5          41.    Plaintiff alleges and incorporates by reference, as if fully set forth
 6    again herein, each and every allegation contained in all prior paragraphs of this
 7    complaint.
 8          42.    More than thirty years ago, the 101st United States Congress found
 9    that although “physical or mental disabilities in no way diminish a person’s right to
10    fully participate in all aspects of society, yet many people with physical or mental
11    disabilities have been precluded from doing so because of discrimination…in such
12    critical areas as employment, housing, public accommodations, education,
13    transportation, communication, recreation, institutionalization, health services,
14    voting, and access to public services.” 42 U.S.C. §12101(a).
15          43.    In 1990 Congress also found that “the Nation’s proper goals regarding
16    individuals with disabilities are to assure equality of opportunity, full participation,
17    independent living, and economic self-sufficiency for such individuals,” but that
18    “the continuing existence of unfair and unnecessary discrimination and prejudice
19    denies people with disabilities the opportunity to compete on an equal basis and to
20    pursue those opportunities for which our free society is justifiably famous.” 42
21    U.S.C. §12101(a).
22          44.    In passing the Americans with Disabilities Act of 1990, which was
23    signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
24    “ADA”), Congress stated as its purpose:
25          “It is the purpose of this Act
26
            (1) to provide a clear and comprehensive national mandate for the
27          elimination of discrimination against individuals with disabilities;
28

                                             COMPLAINT - 11
     Case 5:24-cv-01240-KK-DTB Document 1 Filed 06/12/24 Page 12 of 18 Page ID #:12




 1          (2) to provide clear, strong, consistent, enforceable standards
            addressing discrimination against individuals with disabilities;
 2
 3          (3) to ensure that the Federal Government plays a central role in
 4          enforcing the standards established in this Act on behalf of individuals
            with disabilities; and
 5
 6          (4) to invoke the sweep of congressional authority, including the power
            to enforce the fourteenth amendment and to regulate commerce, in
 7          order to address the major areas of discrimination faced day to-day by
 8          people with disabilities.”

 9    42 USC §12101(b).
10
            45.    As part of the ADA, Congress passed “Title III – Public
11
      Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
12
      seq.). Title III of the ADA prohibits discrimination against any person “on the
13
      basis of disability in the full and equal enjoyment of the goods, services, facilities,
14
      privileges, advantages, or accommodations of any place of public accommodation
15
      by any person who owns, leases (or leases to), or operates a place of public
16
      accommodation.” 42 U.S.C. §12182(a).
17
            46.    The specific prohibitions against discrimination include, inter alia, the
18
      following:
19
         • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
20         shall be discriminatory to afford an individual or class of individuals,
21         on the basis of a disability or disabilities of such individual or class,
           directly, or through contractual, licensing, or other arrangements, with
22         the opportunity to participate in or benefit from a good, service, facility,
23         privilege, advantage, or accommodation that is not equal to that
           afforded to other individuals.”
24
25       • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
           modifications in policies, practices, or procedures when such
26
           modifications are necessary to afford such goods, services, facilities,
27         privileges, advantages, or accommodations to individuals with
           disabilities...;”
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                                           COMPLAINT - 12
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 1
 2       • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
           necessary to ensure that no individual with a disability is excluded,
 3         denied service, segregated, or otherwise treated differently than other
 4         individuals because of the absence of auxiliary aids and services...;”

 5       • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 6         barriers, and communication barriers that are structural in nature, in
           existing facilities... where such removal is readily achievable;”
 7
 8       • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
           the removal of a barrier under clause (iv) is not readily achievable, a
 9         failure to make such goods, services, facilities, privileges, advantages,
10         or accommodations available through alternative methods if such
           methods are readily achievable.”
11
12          47.    Plaintiff is a qualified individual with a disability as defined in the
13    Rehabilitation Act and in the Americans with Disabilities Act of 1990.
14          48.    The acts and omissions of Defendants set forth herein were in
15    violation of Plaintiff’s rights under the ADA and the regulations promulgated
16    thereunder, 28 C.F.R. Part 36 et seq.
17          49.    The removal of each of the physical and policy barriers complained of
18    by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
19    achievable” under the standards of §12181 and §12182 of the ADA. Removal of
20    each and every one of the architectural and/or policy barriers complained of herein
21    was already required under California law. Further, on information and belief,
22    alterations, structural repairs or additions since January 26, 1993, have also
23    independently triggered requirements for removal of barriers to access for disabled
24    persons per §12183 of the ADA. In the event that removal of any barrier is found
25    to be “not readily achievable,” Defendants still violated the ADA, per
26    §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
27    and accommodations through alternative methods that were “readily achievable.”
28

                                          COMPLAINT - 13
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 1           50.    On information and belief, as of the date of Plaintiff’s encounter at the
 2    premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 3    physical premises have denied and continue to deny full and equal access to
 4    Plaintiff and to other mobility disabled persons in other respects, which violate
 5    Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
 6    the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
 7    enjoyment of the goods, services, facilities, privileges, advantages and
 8    accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
 9           51.    Defendants’ actions continue to deny Plaintiff’s rights to full and
10    equal access and discriminated and continue to discriminate against him on the
11    basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
12    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
13    accommodations, in violation of the ADA, 42 U.S.C. §12182.
14           52.    Further, each and every violation of the Americans With Disabilities
15    Act of 1990 also constitutes a separate and distinct violation of California Civil
16    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
17    damages and injunctive relief pursuant to California law, including but not limited
18    to Civil Code §54.3 and §55.
19                              SECOND CAUSE OF ACTION
20                           Violation of the Unruh Civil Rights Act
21                             (California Civil Code §51, et seq.)
22                                   (Against All Defendants)
23           53.    Plaintiff alleges and incorporates by reference, as if fully set forth
24    again herein, each and every allegation contained in all prior paragraphs of this
25    complaint.
26           54.    California Civil Code §51 provides that physically disabled persons
27    are free and equal citizens of the state, regardless of their medical condition or
28    disability:

                                           COMPLAINT - 14
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 1          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
 2
            disability, or medical condition are entitled to full and equal
 3          accommodations, advantages, facilities, privileges, or services in all
 4          business establishments of every kind whatsoever.

 5    California Civil Code §51(b) (emphasis added).
 6          55.    California Civil Code §51.5 also states, in part: “No business,
 7    establishment of any kind whatsoever shall discriminate against…any person in
 8    this state on account” of their disability.
 9          56.    California Civil Code §51(f) specifically incorporates (by reference)
10    an individual’s rights under the ADA into the Unruh Act.
11          57.    California Civil Code §52 provides that the discrimination by
12    Defendants against Plaintiff on the basis of his disability constitutes a violation of
13    the general antidiscrimination provisions of §51 and §52.
14          58.    Each of Defendants’ discriminatory acts or omissions constitutes a
15    separate and distinct violation of California Civil Code §52, which provides that:
16          Whoever denies, aids or incites a denial, or makes any discrimination
17          or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
            every offense for the actual damages, and any amount that may be
18          determined by a jury, or a court sitting without a jury, up to a maximum
19          of three times the amount of actual damage but in no case less than four
            thousand dollars ($4,000), and any attorney’s fees that may be
20          determined by the court in addition thereto, suffered by any person
21          denied the rights provided in Section 51, 51.5, or 51.6.

22          59.    Any violation of the Americans with Disabilities Act of 1990
23    constitutes a violation of California Civil Code §51(f), thus independently
24    justifying an award of damages and injunctive relief pursuant to California law,
25    including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
26    individual under the Americans with Disabilities Act of 1990 (Public Law 101-
27    336) shall also constitute a violation of this section.”
28

                                           COMPLAINT - 15
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 1          60.    The actions and omissions of Defendants as herein alleged constitute a
 2    denial of access to and use of the described public facilities by physically disabled
 3    persons within the meaning of California Civil Code §51 and §52.
 4          61.    The discriminatory denial of equal access to and use of the described
 5    public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
 6          62.    As a proximate result of Defendants’ action and omissions,
 7    Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
 8    §52, and are responsible for statutory, compensatory and actual damages to
 9    Plaintiff, according to proof.
10                                     PRAYER FOR RELIEF
11           Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
12    forth in this Complaint. Plaintiff has suffered and will continue to suffer
13    irreparable injury as a result of the unlawful acts, omissions, policies, and
14    practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
15    he requests. Plaintiff and Defendants have an actual controversy and opposing
16    legal positions as to Defendants’ violations of the laws of the United States and
17    the State of California.
18           The need for relief is critical because the civil rights at issue are paramount
19    under the laws of the United States of America and the State of California.
20           WHEREFORE, Plaintiff prays judgment against Defendants, and each of
21    them, as follows:
22                1.      Issue a preliminary and permanent injunction directing
23          Defendants as current owners, operators, lessors, and/or lessees of the
24          Subject Property and premises to modify the above described property,
25          premises, policies and related facilities to provide full and equal access
26          to all persons, including persons with physical disabilities; and issue a
27          preliminary and permanent injunction pursuant to ADA §12188(a) and
28          state law directing Defendants to provide facilities and services usable

                                           COMPLAINT - 16
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 1         by Plaintiff and similarly situated persons with disabilities, and which
 2         provide full and equal access, as required by law, and to maintain such
 3         accessible facilities once they are provided; to cease any discriminatory
 4         policies; and to train Defendants’ employees and agents how to
 5         recognize disabled persons and accommodate their rights and needs;
 6               2.     Retain jurisdiction over the Defendants until such time as
 7         the Court is satisfied that Defendants’ unlawful policies, practices, acts
 8         and omissions, and maintenance of physically inaccessible public
 9         facilities and policies as complained of herein no longer occur, and
10         cannot recur;
11               3.     Award to Plaintiff all appropriate damages, including but
12         not limited to actual and statutory damages according to proof;
13               4.     Award to Plaintiff all reasonable attorney fees, litigation
14         expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
15         California Civil Code §52; and
16               5.     Grant such other and further relief as this Court may deem
17         just and proper.
18
19
      DATED: June 12, 2024                          VALENTI LAW APC
20
21                                            By: /s/ Matthew D. Valenti
22                                                Matthew D. Valenti
23                                                Attorney for Plaintiff
                                                  Raul Uriarte-Limon
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 1                                    JURY DEMAND
 2          Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3    jury is permitted.
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 6
      DATED: June 12, 2024                          VALENTI LAW APC
 7
 8                                            By: /s/ Matthew D. Valenti
 9                                                Matthew D. Valenti
10                                                Attorney for Plaintiff
                                                  Raul Uriarte-Limon
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